 Case 2:18-cv-00189-GZS Document 12 Filed 07/20/18 Page 1 of 1              PageID #: 70



                         UNITED STATES DISTRICT COURT

                                 DISTRICT OF MAINE



US BANK TRUST NA               )
                               )
v.                             ) CIVIL NO. 2:18-cv-00189-GZS
                               )
JAMES F O'LOUGHLIN, et al      )




                              ORDER TO SHOW CAUSE

      A review of the file in the above matter reflects that the defendants were served on

May 25, 2018. As of this date no responsive pleading has been filed and plaintiff has not

moved for entry of default or default judgment.

      Accordingly, it is ORDERED that pursuant to Rule 41.1(b) of the Local Rules of this

Court counsel shall show cause in writing no later than 14 days from this date, why this

matter should not be dismissed for lack of prosecution.

      So ORDERED.

                                                  George Z. Singal
                                                  United States District Judge


                                                  By : /s/ Amy Rydzewski
                                                       Deputy Clerk


Dated this 20th day of July, 2018.
